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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     KIJUAME TAFT, et al.                     : Civ. No. 1:22-CV-02061
                                              :
           Plaintiffs,                        :
                                              :
                 v.                           :
                                              : (Chief Magistrate Judge Bloom)
     KAMEN’S ART SHOPPES, INC.                :
                                              :
           Defendant.                         :

                            MEMORANDUM OPINION

I.       Introduction

           This case comes before us on a motion for summary judgment filed

     by the defendant, Kamen’s Art Shoppes, Inc. (“Kamen’s”). (Doc. 39). The

     plaintiffs, Kijuame Taft, Meyia Pender, and Rahshema Council, filed this

     lawsuit against Kamen’s alleging racial discrimination, retaliation, and

     interference claims pursuant to 42 U.S.C. § 1981.             (Doc. 11).     The

     plaintiffs contend that Kamen’s racially discriminated against them in

     the performance of a contract when Evan Eberhardt, an artist employed

     by Kamen’s to draw caricatures1 at Hersheypark,2 depicted Pender and


     1 “Exaggeration by means of often ludicrous distortion of parts or
     characteristics.” Caricature, Merriam-Webster.com, https://www.merriam‐
     webster.com/dictionary/caricature (last visited April 22, 2025).
     2 A family theme park located in Hershey, Pennsylvania.
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      her infant son as monkeys.       The plaintiffs also claim that Kamen’s

      retaliated against them and interfered with their ability to perform their

      contract with Hersheypark when another Kamen’s employee, Donald

      Gentzler, “evicted” them from the park. (Doc. 11 ¶ 11, 13).

           Kamen’s now moves for summary judgment, arguing that the

      company is entitled to judgment as a matter of law on the plaintiffs’

      claims. After consideration, we conclude that there are no genuine issues

      of material fact with respect to the plaintiffs’ claims and that these claims

      fail as a matter of law.      Accordingly, we will grant the motion for

      summary judgment.

II.     Background

           On May 29, 2022, the plaintiffs, Taft, Pender, and Council visited

      Hersheypark. (Doc. 41 ¶ 1). While visiting the park, Pender and her

      infant son visited a Kamen’s kiosk, which offered caricature portraits.

      (Id. ¶¶ 3-4).   Pender stated in her deposition that she observed the

      caricature drawing for the guests before her, who were Caucasian, and

      decided to sit for a caricature of her and her son by Kamen’s employee,

      Evan Eberhardt. (Id. ¶ 4; Doc. 39-7 at 8). After Eberhardt completed the

      drawing, he showed it to Pender and her son and attempted to take



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payment for the caricature.     (Doc. 39-5 at 2; Doc. 41 ¶ 7). Eberhardt

claims that Pender giggled when she saw the caricature and asked if she

could come back later to pick it up. (Doc. 39-9 at 6). Pender claims that

when Eberhardt showed her the caricature, she thought it was a joke and

walked away to call her father, Taft. (Doc. 39-7 at 4).

     Once Taft and Council arrived at the kiosk, Taft approached

Eberhardt and his supervisor, Donald Gentzler. (Doc. 39-6 at 7). Taft

claims that he approached the stand and complained that the caricature

made Pender and her son “look like monkeys, or slaves.” (Doc. 41 ¶¶ 17-

18). According to Gentzler, Taft appeared angry and insisted Gentzler

admit the caricature was racist and fire Eberhardt. (Doc. 39-11 at 4-5).

Gentzler testified in his deposition that Taft refused to leave the stand

until Gentzler admitted the caricature was racist, which Gentzler would

not do. (Id. at 5). Gentzler ultimately informed Taft that he was going

to contact his manager, which made Taft more upset and escalated the

situation. (Id. at 4-5). For his part, Taft stated he did not know why

Gentzler called someone else to attempt to resolve the issue, and that he

expected Gentzler to confront Eberhardt about the drawing. (Doc. 39-6

at 8). According to Gentzler’s manager, Erin Halblieb, she was on site at



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Hersheypark the day of the incident, but Taft declined Gentzler’s offer to

have her come to the kiosk. (Doc. 39-10 at 12).

     During this encounter Taft claims he was told by Gentzler to leave

Hersheypark, which he, Pender, Council, and the rest of their family did

after his conversation with Gentzler. (Doc. 39-6 at 10). Gentzler disputes

this assertion, stating that while he wanted Taft to leave the kiosk, he

did not tell Taft to leave the kiosk or the park. (Doc. 39-11 at 5-6).

Gentzler also stated that Taft told him that he would not leave the kiosk

until Gentzler admitted that the drawing was racist. (Id.). Pender did

not participate in the conversation between Taft, Eberhardt, and

Gentzler. (Doc. 41 ¶ 23). She stated in her deposition that after Taft

finished talking to Gentzler, she wanted to leave the park because she

was “over it.” (Doc. 39-7 at 5). She further stated that no Kamen’s

employee called her a monkey or said anything disrespectful towards any

of the plaintiffs in relation to their race. (Id.). She testified that she

believed Eberhardt discriminated against her because of her race due to

the way the caricature was drawn in comparison to another caricature

she observed prior to sitting down at the kiosk. (Id. at 7-8). Ultimately,




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none of the plaintiffs paid for the drawing, and they did not take the

caricature with them when they left the park. (Doc. 41 ¶¶ 27-29).

      After the interaction with Taft, Eberhardt and Gentzler took the

drawing to show Halblieb and explained what happened during their

conversation with Taft. (Doc. 41 ¶ 58). Gentzler also told Halblieb that

none of the plaintiffs left their names or phone numbers, so they could be

reached after the incident. (Doc. 39-11 at 6).

      Three months after the incident, Taft reached out to Hersheypark

guest services to complain about the caricature. (Doc. 41 ¶ 65). After

Hersheypark notified Kamen’s of the complaint Halblieb immediately

contacted Taft and offered another drawing and shipping at no cost. (Id.

¶ 66; Doc. 39-10 at 12). According to Halblieb, Taft was upset by her offer

and insisted that Kamen’s offer “more” and admit that Kamen’s was

racist.   (Doc. 39-10 at 16).3 Taft also brought up the caricature of the




3 Halblieb also testified in her deposition that during this call, Taft
“bullied” and “harass[ed]” her, called her a “white privileged woman,” and
insisted that she admit that the artist, the company, and the entire state
of Pennsylvania was “racist.” (Doc. 39-10 at 19-20). She further testified
that Taft brought up litigation against another theme park that was
being sued for allegedly racist behavior, and that Taft “threaten[ed]” her
by saying that his lawyers would be calling her. (Id.).


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Caucasian couple who sat before Pender, insisting that caricature was

also done by Eberhardt and was drawn better; however, Halblieb

disputed that the first caricature was done by Eberhardt based on her

knowledge of the artists’ work and the signatures on each drawing. (Doc.

39-10 at 23). Kamen’s Human Resources manager, Erin Brazill, also

reached out to the plaintiffs and offered to have the caricature redrawn

by a more experienced artist and shipped to their home at no cost. (Doc.

39-12 at 5). The plaintiffs refused, allegedly stating that they wanted

Brazill to admit that the drawing looked like animals. (Id.).

     On December 29, 2022, the plaintiffs filed their original complaint

against Kamen’s. (Doc. 1). The plaintiffs amended their complaint on

May 23, 2023, alleging claims of racial discrimination, retaliation, and

interference pursuant to 42 U.S.C. § 1981. (Doc. 11). Kamen’s now moves

for summary judgment, arguing that the plaintiffs’ claims fail as a matter

of law because the plaintiffs failed to produce evidence to show intent to

discriminate, each plaintiff engaged in a protected activity in order to

state a claim for retaliation, and that there was a contractual

relationship with which Kamen’s interfered. (Doc. 40).




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            After consideration, we conclude that there are no genuine issues

       of material fact and that the plaintiffs’ claims fail as a matter of law.

       Accordingly, we will grant the defendant’s motion for summary

       judgment.

III.     Discussion

         A. Motion for Summary Judgment – Standard of Review

            The defendant has filed a motion for summary judgment pursuant

       to Rule 56 of the Federal Rules of Civil Procedure. Rule 56(a) provides

       that a court shall grant summary judgment “if the movant shows that

       there is no genuine dispute as to any material fact and the movant is

       entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

       materiality of the facts will depend on the substantive law. Anderson v.

       Liberty Lobby, 477 U.S. 242, 248 (1986). Thus, “[o]nly disputes over facts

       that might affect the outcome of the suit under governing law” will

       preclude summary judgment.        Id.   A dispute is only genuine if a

       reasonable juror could find in favor of the nonmoving party. Id.

            The moving party bears the initial burden to “demonstrate the

       absence of a genuine issue of material fact,” relying on pleadings,

       depositions, affidavits, and other evidence in the record. Celotex Corp. v.



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Catrett, 477 U.S. 317, 323 (1986). If the movant “successfully points to

evidence of all of the facts needed to decide the case on the law,” the

nonmovant can still defeat summary judgment by pointing to evidence in

the record which creates a genuine dispute of material fact and from

which a jury could find in its favor. El v. Southeastern Pennsylvania

Transp. Auth. (SEPTA), 479 F.3d 232, 238 (3d Cir. 2007). However, “[i]f

the evidence is merely colorable, or is not significantly probative,

summary judgment may be granted.” Anderson, 477 U.S. at 249-50

(citations omitted). A court may not make credibility determinations or

weigh the evidence, but “must view the facts in the light most favorable

to the non-moving party.” Hugh v. Butler County Family YMCA, 418

F.3d 265, 267 (3d Cir. 2005).

  B. The Defendant’s Motion for Summary Judgment will be Granted.

     Our review of Kamen’s motion for summary judgment reveals that

there are no genuine disputes of material fact regarding any of the

plaintiffs’ § 1981 claims and that the claims fail as a matter of law.

Although the plaintiffs assert that the caricature was “so offensive” that

intentional discrimination must be inferred, there is no evidence in the

record to suggest that Kamen’s or any of its employees intended to



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discriminate against or interfere with the plaintiffs’ ability to contract

based on their race.      Because the plaintiffs cannot establish an

underlying § 1981 violation, their § 1981 retaliation claim also fails.

However, considering the merits of the retaliation claim, this claim fails

because although there is a dispute over whether a Kamen’s employee

told the plaintiffs to leave the park, accepting the plaintiffs’ version of

events as true, Kamen’s can offer a legitimate and non-discriminatory

reason for the alleged actions. The plaintiffs point to no evidence to show

that the reason was a pretext for retaliation. Accordingly, we will grant

the defendant’s motion for summary judgment.

     1. Racial Discrimination

     Section 1981 “protects the equal right of ‘[a]ll persons within the

jurisdiction of the United States’ to ‘make and enforce contracts’ without

respect to race.” Domino’s Pizza, Inc. v. McDonald, 546 U.S. 470, 474-75

(2006) (quoting 42 U.S.C. § 1981(a)).       This includes “the making,

performance, modification, and termination of contracts, and the

enjoyment of all benefits, privileges, terms, and conditions of the

contractual relationship.” Id. at 475 (quoting § 1981(b)). To state a claim

of discrimination under § 1981 in this context, a plaintiff must show: (1)



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membership in a racial minority; (2) intentional discrimination based on

race; and (3) “discrimination concerning ... the right to make and enforce

contracts.” Brown v. Philip Morris Inc., 250 F.3d 789, 797 (3d Cir. 2001)

(quotations and citation omitted). Discriminatory intent may be shown

through evidence of “disparate impact, departure from procedural norms,

a history of discriminatory conduct, or other relevant facts, but may not

be established by conclusory allegations of generalized racial bias.” Lee

v. Delta Air Lines, Inc., 38 F. Supp. 3d 671, 675 (W.D. Pa. 2014) (citing

Flagg v. Control Data, 806 F. Supp. 1218, 1223 (E.D. Pa. 1992)).

     The plaintiffs concede that only Pender has standing to sue for

racial discrimination pursuant to § 1981. (Doc. 43 at 3). Therefore, we

will grant summary judgment with respect to the racial discrimination

claims asserted by Taft and Council.

     As to Pender’s racial discrimination claim, Kamen’s argues that

there is no evidence to support the assertion that anyone from Kamen’s

intentionally discriminated against Pender because of her race. (Doc. 40

at 6-7). Kamen’s points to Pender’s testimony in which she admits that

Eberhardt and Gentzler did not say anything to her in relation to her

race and did not speak to her in a disrespectful manner. (Doc. 39-7 at 7).



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Although Kamen’s managers conceded that the caricature was not drawn

well, as Gentzler, Halblieb, and Brazill admit in their depositions, there

is nothing in the record to suggest that any Kamen’s employee had intent

to discriminate against Pender. (Doc. 39-10 at 23; Doc. 39-11 at 5).

Eberhardt himself admitted to Halblieb that the caricature was not well

drawn and that at the time he drew the caricature of Pender and her son,

he was still learning how to draw caricatures. (Doc. 39-10 at 24; Doc. 39-

9 at 5). Additionally, Kamen’s did not make Pender or any of the other

plaintiffs pay for the drawing and offered to re-draw and ship a new

caricature for no cost. (Doc. 39-10 at 14).

     Pender argues that racial discrimination must be inferred because

her drawing was objectively offensive compared to the caricature of the

Caucasian couple that they claim was drawn by Eberhardt. She alleged

that she sat for the caricature because she saw the other couple’s

caricature and thought it was drawn well. Additionally, Pender asserts

that she observed Eberhardt draw the Caucasian couple’s caricature and

Taft stated in his testimony that he believed that the artists’ initials on

both drawings match. (Doc. 39-6 at 7, 18; Doc. 39-7 at 4). Kamen’s

disputes this assertion, stating that the caricature of the Caucasian



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couple referenced by Pender was not drawn by Eberhardt based on

Halbleib’s knowledge of the artists and her testimony that the caricature

of the Caucasian couple was drawn by Gentzler. (Doc. 39-10 at 16).

      Pender stated in her deposition that she did not know what a

caricature was, but she believes that Kamen’s racial intent is evidenced

by the exaggerated features, the colors and because the caricature she

observed before hers was well drawn in comparison. (Doc. 39-7 at 8; Doc.

43 at 4). The plaintiffs rely on Danao v. ABM Janitorial Services, 142 F.

Supp. 3d 363, 375-76 (E.D. Pa. 2015) to assert that the alleged depiction

of monkeys is enough to support an inference of racial discrimination.4

We are first constrained to note that, in this case, the plaintiffs—not

anyone employed by the defendant—are the only individuals who have

used the word “monkey”5 to describe the caricature drawn by Eberhardt.




4 The plaintiffs also cite to   Gladden v. Ambler Healthcare Group, LLC,
No. 21-4483, 2022 WL 17721055, at *7 n.6 (E.D. Pa. 2022) which supports
the assertion that the use of the word “monkey” has been used in racial
harassment claims in the past and was decided at the summary judgment
stage. However, in Gladden, the court ultimately determined that the
defendant’s verbal use of the word “monkeys” in that specific context fell
short in suggesting any racial animus. Id.
5 Curiously, in his deposition, when asked what about the picture

resembled a monkey, Taft replied: “Oh, man. It is a lot. It ain’t a monkey,
it’s a chipmunk. They both -- it is terrible. . . .” (Doc. 39-6 at 6) (emphasis

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(See e.g., Doc. 36-6 at 7; Doc. 39-8 at 6). While the Danao court found

that the use of the word “monkey” was sufficient at the motion to dismiss

stage to support an inference of intentional racial discrimination, even

the Danao court remarked that in that case, the “[p]laintiff’s claim of

racial discrimination stands on particularly tenuous grounds.” Danao,

142 F. Supp. 3d at 376. Significantly, the instant case is at the summary

judgment stage, where a plaintiff must set forth more than just a

subjective belief of discrimination because of her race. See e.g., Tucker

v. Thomas Jefferson Univ., 484 F. App’x 710, 712 (3d Cir. 2012) (finding

that “the subjective belief that race played a part in [the alleged

discriminatory conduct] is insufficient” at the summary judgment stage);

Sullivan v. Nationwide Life Ins. Co. of Amer., 720 F. Supp. 2d 483, 510

(D. Del. 2010) (granting summary judgment on a racial discrimination

claim finding that the “[p]laintiff needs more than his subjective belief to

survive summary judgment . . . .”).

     Here, the only evidence that the plaintiffs rely on to support an

inference of discrimination is the subjective belief that the drawing




added). However, the plaintiffs do not argue that a depiction of a
chipmunk is a racial stereotype.

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depicted the plaintiffs as “monkeys,” as characterized by the plaintiffs

themselves. Even if we assume that Eberhardt drew both the caricature

of the Caucasian couple and the caricature of Pender and her son, the

differences in the caricatures alone does not suggest an intent to

discriminate based on the plaintiffs’ race. Viewing the evidence in a light

favorable to Pender as the nonmovant, her subjective belief that the

caricature was racist is simply insufficient at this stage to survive the

instant   summary      judgment     motion,    particularly     where       the

overwhelming amount of record evidence shows no intent to discriminate

by any Kamen’s employee. Accordingly, we conclude that the plaintiffs

have failed to set forth evidence from which a factfinder could conclude

that Kamen’s had an intent to discriminate or deprive Pender of her §

1981 rights based on her race.      Accordingly, we will grant Kamen’s

motion for summary judgment with respect to the racial discrimination

claim.




     2. Interference




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     The plaintiffs also bring a claim of interference, alleging that they

were “evicted” from Hersheypark by Kamen’s staff after Taft complained

of racial discrimination. Section 1981 imposes liability on a third party

that intentionally interferes, “on the basis of race, with another’s right to

make and enforce contracts.” McClease v. R.R. Donnelley & Sons Co., 226

F. Supp. 2d 695, 699 (E.D. Pa. 2022) (citations omitted). A plaintiff

raising such a claim of interference must establish “that he was actually

denied the ability either to make, perform, enforce, modify, or terminate

a contract, or to enjoy the fruits of a contractual relationship, by reason

of race-based animus.” Burns v. SeaWorld Parks & Entertainment, Inc.,

675 F. Supp. 3d 532, 541 (E.D. Pa. 2023) (citations and quotations

omitted).

     The plaintiffs’ interference claim is based on their allegations that

Kamen’s staff told them they had to leave the park, thereby interfering

with their contractual right to remain in the park. As we concluded at

the motion to dismiss stage, the plaintiffs have shown a contractual

relationship with Hersheypark based on the purchase of tickets for

admission to the park. (Doc. 30 at 9). Taft claims that Gentzler told him

to leave the park, after which he packed up his family and left. (Doc. 39-



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6 at 10). But Gentzler stated that while he wanted Taft to leave the kiosk

because of the way Taft escalated the situation, he never told Taft or any

of the plaintiffs they had to leave the kiosk or the park. (Doc. 39-11 at 6-

7). Further, Pender testified in her deposition that she wanted to leave

the park and was “over it.” (Doc. 39-7 at 5). All the plaintiffs stated that

the exchange with the Kamen’s employees took place at the end of the

day around the time that the park was closing. (Doc. 39-6 at 10-11; Doc.

39-7 at 3; Doc. 39-8 at 4). Gentzler and Eberhardt also testified that the

encounter took place toward the end of the day. (Doc. 39-9 at 7; Doc. 39-

11 at 4).

      Viewing the evidence in a light most favorable to the plaintiffs, we

conclude that no reasonable juror could find in the plaintiffs’ favor on

their interference claim. Even if we accept Taft’s version of events—that

Gentzler told Taft he and his family had to leave—no reasonable juror

could find that this directive, which all parties agree would have occurred

toward the end of the day, interfered with the plaintiffs’ contract with

Hersheypark. As the defendant notes, every individual who patronizes a

theme park ultimately leaves the park at some point after paying to

enter. (Doc. 46 at 9). Thus, a statement from one of Kamen’s employees



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telling the plaintiffs to leave the park at or around the time that the park

is closing could not plausibly be construed as interfering with the

plaintiffs’ contractual relationship with Hersheypark based on their

admission tickets.

     Nor could a juror conclude that the directive to leave the park was

predicated on race-based animus. Rather, the evidence in the record

establishes that Taft made a complaint to Kamen’s and then escalated

the situation to a point where Kamen’s staff felt threatened. Eberhardt

testified that Taft verbally threatened to hurt him (see Doc. 39-9 at 7

(“The part that was threatening was the fact that he said he wanted to

grab someone else to come down here to hurt me.”); and Gentzler stated

that he was “scared [Taft] might do something if I kept saying the truth,

that it wasn’t racist. (Doc. 39-11 at 5). Thus, in our view, no reasonable

juror could conclude that Kamen’s interfered with the plaintiffs’ contract

with Hersheypark because of their race.6         We will therefore grant




6 We also note that there is no evidence in the record that the employees

of Kamen’s, a third-party vendor that contracts with Hersheypark and
other theme parks (see Doc. 39-10 at 4), had any authority to “evict” the
plaintiffs from the park.

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summary judgment in favor of the defendant on the plaintiffs’

interference claim.

     3. Retaliation

     Section 1981 also encompasses claims of retaliation for reporting

discriminatory conduct. CBOCS West, Inc. v. Humphries, 553 U.S. 442,

451-52 (2008). Such claims follow the same framework as Title VII

retaliation claims and require a plaintiff to show that “(1) he engaged in

protected activity, (2) that [the defendant] took an adverse [ ] action

against him, and (3) there was a causal connection between his

participation in the protected activity and the adverse [ ] action.” Estate

of Oliva ex rel. McHugh v. New Jersey, 604 F.3d 788, 798 & n.14 (3d. Cir.

2010) (citing Moore v. City of Phila., 461 F.3d 331, 340-41 (3d Cir. 2006)).

Further, the plaintiff must demonstrate that there was “an underlying

section 1981 violation.” Id. (citing CBOCS West, Inc., 553 U.S. at 451-

52). If the plaintiffs can establish a prima facie case of retaliation, then

the burden shifts to the defendant to provide a legitimate non-retaliatory

reason for its conduct. Id. If the defendant can provide such a reason,

then the plaintiff must show that the defendant’s provided reason was a

pretext for retaliation. Id.



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     Because the plaintiffs failed to establish an underlying § 1981

violation, their retaliation claim must fail. However, addressing the

merits of the retaliation claim, it must still fail because Kamen’s has

provided a legitimate non-discriminatory reason for its conduct, and

there is no evidence in the record from which the plaintiffs can establish

that this reason was a pretext for retaliation.

     The plaintiffs assert that they engaged in protected activity when

they complained to Gentzler and Eberhardt about the caricature. (Doc.

11 ¶¶ 12-13). Neither Pender or Council ever directly spoke to anyone at

Kamen’s to complain about the drawing and therefore could not have

engaged in protected activity. (See Doc. 39-7 at 4; Doc. 39-8 at 4). Taft

was the only plaintiff that made complaints to Gentzler and Eberhardt

at the park and therefore the only one who could have engaged in

protected activity. (Doc. 39-6 at 7-8, Doc. 39-11 at 7). Next, assuming

Gentzler told Taft that he had to leave the park, there could be a causal

connection between Gentzler’s adverse action (telling Taft to leave the

park) and Taft’s complaint because Taft was allegedly asked to leave

shortly after making his complaint to a Kamen’s employee.




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              Because Taft can establish a prima facie case of retaliation,

      Kamen’s must provide a legitimate non-discriminatory reason for its

      alleged conduct. In his deposition, Eberhardt stated that Taft was upset

      and threated him and Gentzler. (Doc. 39-9 at 7). Gentzler similarly

      stated that Taft grew increasingly frustrated, that the situation had

      escalated, and that he felt scared during their encounter. (Doc. 39-11 at

      5).     Accordingly, the defendant meets the relatively low burden of

      providing a legitimate, nonretaliatory reason for the alleged action taken.

      Fuentes v. Perskie, 32 F.3d 759, 763 (3d Cir. 1994) (characterizing the

      defendant’s burden at this stage as “relatively light”). Further, viewing

      the evidence in a light most favorable to the plaintiffs, no reasonable

      juror could find that Gentzler’s alleged request for the plaintiffs to leave

      the park was a pretext for retaliation. Rather, if made, the request was

      made in response to the confrontational encounter. Accordingly, the

      plaintiffs’ retaliation claim fails, and summary judgment will be granted

      in favor of the defendant.

IV.         Conclusion

              For the foregoing reasons, the defendant’s motion for summary

      judgment (Doc. 39) will be GRANTED.



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     An appropriate order follows.




Submitted this 22nd day of April 2025.

                                  s/ Daryl F. Bloom
                                  Daryl F. Bloom
                                  Chief United States Magistrate Judge




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